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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

   ---------------------------------------------------------------X
   JOHN DOE,                                                      :
                                                                  :   Civil Action No. 1:15-cv-144
                                       Plaintiff,                 :
                                                                  :
                     -against-                                    :
                                                                  :
   BROWN UNIVERSITY,                                              :
   in Providence in the State of Rhode Island                     :
   and Providence Plantations,                                    :
                                                                  :
                                       Defendant.                 :
   ---------------------------------------------------------------X

      PLAINTIFF JOHN DOE’S REPLY MEMORANDUM IN FURTHER SUPPORT OF
              CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

           Plaintiff John Doe submits this Reply Memorandum in further support of his Motion for

   Partial Summary Judgment, and in response to the arguments made in Defendant Brown

   University’s February 23 Response Memorandum (CM/ECF 115-1).

           A.       Compliance with Local Rule 56
                    (CM/ECF 115-1, pp. 2-4)

           In support of its Motion for Partial Summary Judgment, Defendant filed a Local Rule

   56(a) Statement of Undisputed Facts (CM/ECF 95). With his Objection and supporting

   Memorandum, Plaintiff filed a Local Rule 56(a)(3) Statement of Disputed Facts and Inferences

   (CM/ECF 107), responding, as the Local Rule requires, to the specific paragraphs listed in

   Defendant’s statement. In its original Memorandum in Support of Motion for Partial Summary

   Judgment (CM/ECF 94-1 at p. 14), Defendant asserts that “none of [Plaintiff’s] various and far-

   reaching theories articulated in his Complaint and throughout discovery are sufficient to raise

   any genuine issue of material fact showing any intentional gender bias against him.” Consistent


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   with this position, Defendant had the opportunity to add a corresponding statement as a

   paragraph in CM/ECF 95, perhaps stating that “Defendant did not engage in gender

   discrimination,” or “The record contains no evidence of intentional gender bias,” etc. Had

   Defendant included such a paragraph in its Statement of Undisputed Facts (CM/ECF 95),

   Plaintiff would have disputed it, and responded point-by-point in CM/ECF 107, complete with

   exhibits and references to the record. On the other hand, because Defendant’s Memorandum

   disputed the existence of evidence of gender discrimination (see CM/ECF 94-1 at p. 14),

   Plaintiff’s presentation of such evidence in his Memorandum (with supporting exhibits) did not

   qualify as “additional undisputed facts” contemplated by a Local Rule 56(a)(4) supplemental

   statement.

          Plaintiff acknowledges the Web of Caring article could have been limited to the relevant

   pages in accordance with the Local Rule but submits that the specific citations in the

   Memorandum minimize the reader’s time. On the other hand, Plaintiff intended to introduce the

   expert reports in full. Other exhibits (such as deposition testimony) were properly excerpted.

          B.      Plaintiff Does Not Rely on Inadmissible Hearsay
                  (CM/ECF 115-1, p. 4)

          Defendant’s discussion of potential hearsay issues paints with too broad a brush, as many

   of the newspaper and internet articles were not offered for the truth of the information reported in

   the article. Instead, this information was offered for the purpose of demonstrating the media

   attention garnered by activism on Brown’s campus and the response thereto, as this type of

   information can be germane to a Title IX “erroneous outcome” case. For example, in Doe v.

   Columbia University, 831 F.3d 46, 50-51 (2d Cir. 2016), the Second Circuit referred to a New

   York Post article that quoted several female students upset with the University’s disciplinary

   procedures, thus providing an (alleged) evidentiary foundation for the claim that the University


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   had been “severely criticized in the student body and in the public press for toleration of sexual

   assault of female students”, leading Columbia to “accept the female’s accusation of sexual

   assault and reject the male’s claim of consent, so as to show the student body and the public that

   the University is serious about protecting female students from sexual assault by male students . .

   . “ Id., 831 F.3d at 57. Similarly, Plaintiff here presents various newspaper and internet articles

   critical of Brown’s handling of sexual misconduct cases, which led to reforms in Brown’s

   policies and to administrators taking a tougher stance against male respondents.

          C.      Specific Breaches of Contract
                  (CM/ECF 112-1, pp. 64-81; CM/ECF 115-1, pp. 13-20)

                  1a.     Dean Castillo Lacked Authority to Issue an Order Restricting John Doe to
                          His Dormitory Room
                          (CM/112-1, p. 66; CM/ECF 115-1, p. 14)

          The parties do not dispute that Dean Castillo lacked explicit authority under the Code of

   Student Conduct to restrict John Doe to his dormitory room; instead, Defendant maintains Dean

   Castillo acted within her “discretion.”     While Rhode Island contract law grants a private

   educational institution “sufficient discretion to properly exercise its educational responsibilities”

   when formulating policies and procedures, see Gorman v. St. Raphael Academy, 853 A.2d 28, 34

   (R.I. 2004) (quotation omitted), this discretion is not limitless. A Rhode Island educational

   institution does not have a “get out of jail free card” to violate the actual policies and procedures

   it exercises its “sufficient discretion” to formulate. Doe v. Brown University, 210 F.Supp. 3d 310

   (D.R.I. 2016). Moreover, a Rhode Island educational institution is bound by the student’s

   reasonable expectations as to how the policy will be implemented. See John Doe v. Brown

   University, supra, 210 F.Supp. 3d at 330 (D.R.I. 2016).

          Here, the Code states clearly what the University can and cannot do. The Code does not

   grant Dean Castillo any discretion to conceive, enact and impose her own supplementary


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   restrictions. Such an unstated and undefined discretionary loophole could potentially swallow up

   all of the specific protections outlined elsewhere in that contractual document. See also John

   Doe v. Brown University, supra, 210 F.Supp. 3d at 330 (D.R.I. 2016) (under Rhode Island law,

   ambiguous contract language is interpreted against the drafter). Also, even if one were to

   assume, contrary to Rhode Island contract law, that such discretion could be implied, such

   implied authority would necessarily be constrained by the document’s explicit rights. In this

   case, Dean Castillo had other less restrictive options available (such as a no-contact order) that

   she chose not to exercise, exceeding any reasonable scope of “implied” discretion.

          1b.     Defendant’s Decision to Expedite the Student Conduct Board Hearing Was An
                  Abuse of Discretion.
                  (CM/ECF 112-1, pp. 66-68; CM/ECF 115-1, p. 15)

          In seeking to justify Defendants’ decisions to expedite John Doe’s hearing to occur only

   35 days after Jane Doe filed her complaint, and to refuse his requests for an extension within the

   60 days allowed under the Code of the Student Conduct, Defendant refers to page 11 of the

   Code. This section lists the “salient factors” to be considered before granting an extension of the

   hearing date beyond the 60 days normally permitted. Defendant misreads its Code, because that

   section by its own terms applies only to extensions beyond the 60-day permitted window, not

   when, as was true here, the extension sought another date within the 60-day permitted window.

          2.      Vice President Klawunn’s Lack of Authority to Order Plaintiff’s Interim Removal
                  from Campus
                  (CM/ECF 112-1, pp. 68-70; CM/ECF 115-1, p. 16)

          There is no dispute that Vice President Klawunn lacked the authority to order Plaintiff’s

   interim removal from campus. Defendant mischaracterizes the factual record in arguing that Vice

   President Klawunn assumed the responsibilities of Senior Associate Dean for Student Life.

   Without referring to the Brown Daily Herald article describing Senior Associate Dean Ward’s



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   transition from his position at Brown University in January 2015, the record of undisputed facts

   includes the following:

           a.      Vice President Klawunn did not testify that Senior Associate Dean Ward left his
                   position in the Fall, 2014 semester; instead, she testified he was “in the process
                   of” leaving. Exhibit 1 (filed under seal) (Klawunn deposition, p. 100).

           b.      The Code of Student Conduct allows the Senior Associate Dean to designate
                   someone to fulfill his or her responsibilities (CM/ECF 112-8 at p. 10, n. 2), but
                   Vice President Klawunn did not claim to be his designee. She also did not present
                   herself to Plaintiff as “Acting” or “Interim” Senior Associate Dean. Instead, she
                   signed the removal letter as “Vice President of Campus Life and Student
                   Services.” (CM/ECF 113-27).

           c.      The Code of Student Conduct explicitly permits the Dean of the College and the
                   University President to order interim removals (CM/ECF 112-8 at p. 11); but does
                   not list the Vice President for Campus Life as a permitted alternative.

           Given the specificity of the Code of Student Conduct and the numerous alternatives it

   presents for cases when a particular University official is unavailable, it is apparent that the

   drafters of the Code intentionally identified five individuals they deemed qualified to perform the

   task of issuing a removal order. The Court should therefore reject as a matter of law Defendant’s

   effort to justify Vice President Klawunn’s removal order by claiming an implied authority that

   was not written into the Code of Student Conduct. See also John Doe v. Brown University, 210

   F.Supp. 3d 310, 330 (D.R.I. 2016) (under Rhode Island law, ambiguous contract language is

   interpreted against the drafter).

                   3.      Defendant’s Lack of Response to Plaintiff’s Requests for Information
                           (CM/ECF 112-1, pp. 70-72; CM/ECF 115-1, pp. 16-17)

           In its previous decision on Brown’s Motion to Dismiss, the Court noted the clarity and

   broad scope of this provision of the Code of Student Conduct, stating the following:

           Brown chose to write its policy to state that the case administrator “will respond” to the
           respondent’s requests; now it must live with that promise.

   Doe v. Brown University, 166 F.Supp.3d 177, 194 (D.R.I. 2016).

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          On or around October 25, 2014, Dean Suarez sent an email to Dean Castillo forwarding

   John Doe’s request to clarify the definition of “investigation” and to provide a step-by-step

   description of the actions Defendant took “from the time the allegation was submitted to time

   [Plaintiff] was contacted.” Dean Castillo sent an email to John Doe purporting to answer his

   questions. The parties agree on the exact correspondence, which is viewable at CM/ECF 110-7.

   (Compare CM/ECF 109, 18-19 with CM/ECF 116, 18-19, documenting agreement on these

   facts.) In a reply email, Dean Castillo answered both inquiries by referring Plaintiff to pages 9-

   12 of the Code of Student Conduct (CM/ECF 109-2, pp. 10-13) which as noted does not define

   the term “investigation” and has absolutely nothing to say about the specific steps Defendant

   actually took prior to contacting Plaintiff.

          Moreover, by email dated November 11, 2014, John Doe emailed Dean Castillo to

   inquire about the submission of character statements from witnesses (CM/ECF 113-64); by email

   dated November 15, 2014, John Doe emailed Dean Castillo to request copies of text messages

   and additional witness statements received by Defendant. (CM/ECF 113-40). Dean Castillo

   utterly failed to respond to either of these inquiries. CM/ECF 113-2 ¶¶ 3-4 (John Doe Affidavit).

          Defendant’s contractual duty requires more than a mindless presentation of unresponsive

   gibberish. While in theory it may be a fact finder’s responsibility to distinguish between

   “reasonable” and “unreasonable” unresponsiveness, Defendant’s failure to articulate any

   response whatsoever makes this case sufficiently clear to support a ruling as a matter of law.

                  4.      Defendant’s Refusal to Allow Plaintiff A Mid-Point Statement
                          (CM/ECF 112-1, pp. 72-74; CM/ECF 115-1, pp. 17-18)

          In its prior decision, the Court also noted the clarity and scope of this provision, stating:

          Once again, Brown chose to draft its Code to give students the right to “every
          opportunity” to “articulate relevant concerns” and “offer evidence”; now it must abide by
          that decision.

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          Doe v. Brown University, 166 F. Supp. 3d 177, 198 (D.R.I. 2016).
          The summary judgment record indicates that Brown University sent John Doe a

   document before the hearing (“Timeline”, CM/ECF 113-50) which identified the order of events,

   including an opening statement from both parties at the beginning of the hearing (CM/ECF 113-

   50), p. 2, and closing statements from both parties at the end of the hearing. (CM/ECF 113-50),

   p. 5. Additionally, the Timeline includes the following entry in the middle:

      WITNESS STATEMENT TESTIMONY BY [JOHN DOE] OR ADVISOR, MARYLOU MCMILLAN

          The record of undisputed facts shows that John Doe wanted to speak at the indicated time

   during the hearing but was denied this opportunity. CM/ECF 112-1 at p. 73. There are two

   different reasons why the Court should find this denial to be a breach of John Doe’s contractual

   rights as a matter of law.

          First, the Timeline, which was issued by Brown University, effectively became part of its

   contract with Plaintiff. See Lyons v. Salve Regina College, 575 F.2d 200, 201 (1st Cir. 1977)

   (reviewing contract consisting of College Manual and Academic Information Booklet). Under

   this theory, the contract language is clear and unambiguous – John Doe had a contractual right to

   make a witness statement at this time and was denied that right.

          Under Rhode Island law, a court decides, as a matter of law, whether a contract’s terms

   are clear or ambiguous.      Rotelli v. Catanzaro, 686 A.2d 91, 94 (R.I. 1996).      If the court

   determines the contract’s terms are clear and unambiguous, then it interprets those terms as a

   matter of law. Id. See also Cheaters, Inc. v. United National Insurance, 41 A.3d 637, 642-43

   (R.I. 2012) (same). For that matter, even if this particular language were ambiguous (which it is

   not), the court should interpret that ambiguity against the drafter. John Doe v. Brown University,

   210 F.Supp. 3d 310, 330 (D.R.I. 2016).



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          Second, even if the Court concluded that the Timeline was not formally part of the

   contract, it constitutes a clear, unambiguous and undisputed admission of Defendant’s

   interpretation and implementation of Plaintiff’s contractual right to “articulate every relevant

   concern” within the context of his Student Conduct Board hearing, again permitting the Court to

   rule on this claim as a matter of law.

                  5.      Allowing Plaintiff a Reasonable Amount of Time to Prepare a Response to
                          The Charges Against Him
                          (CM/ECF 112-1, pp. 74-77; CM/ECF 115-1. p. 18)

          Defendant is correct in stating that, as a general matter, it is up to a jury to determine

   what is “reasonable.” With that said, there are several factors that would cause a jury ruling in

   favor of Defendant on this point to enter the zone of reversible error. They include:

          a.      Less than four days before the hearing, John Doe was provided a voluminous and
                  complex packet of materials containing witness statements, addendums to these
                  statements, medical records from Women and Infants Hospital of Rhode Island,
                  and medical records from Brown Health Services. (CM/ECF 113-21).

          b.      Brown had the hospital records for two weeks before disclosing them to Plaintiff.
                  (CM/ECF 113-17, p. 19) (Castillo Deposition, p. 375).

          c.      Defendant forwarded case materials to Jane Doe as soon as they became available
                  (CM/ECF 113-53, p. 3), and she could obtain her hospital records anytime she
                  chose.

          d.      Defendant’s stated justification is that it was waiting for the photographs.
                  (CM/ECF 115-1, p. 18). Nothing prevented Defendant from distributing the
                  hospital records already in its possession at an earlier date while waiting for the
                  photographs to arrive.

          e.      Nothing prevented Defendant from postponing the hearing for a few weeks, given
                  that it took place 35 days after the complaint was filed, the Code provides a 60-
                  day window, and in practice the average window is greater than that. See
                  generally, CM/ECF 112-1, p. 32 (35-day interval between complaint and hearing
                  in John Doe’s case, compared to 60-day window in Code and 81-day average
                  window in practice).




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           Plaintiff submits that this particular combination of circumstances makes it impossible

   for a reasonable jury to find that Defendant complied with its contractual duty.

                   6.      Decision to Redact Favorable Character Evidence for Plaintiff (L.B.’s
                           Witness Statement) While Admitting Unfavorable Character Testimony
                           Concerning The “Wing Man” Incident
                           (CM/ECF 112-1, pp. 77-80; CM/ECF 115-1, p. 19)

           In its Reply (CM/ECF 115-1 at p. 19), Defendant offers a justification for its selective

   and inconsistent treatment of character evidence, asserting that the “wing man” incident was

   relevant because it described an alleged interaction in which both John Doe and Jane Doe were

   present. The casual and non-intimate social context in which they were involved at the time of

   the “wing man” incident occurred makes such a distinction untenable. Brown deprived John Doe

   of the opportunity to offer all relevant information when it arbitrarily excluded favorable

   evidence related to John Doe’s character during a prior intimate encounter, while allowing

   unfavorable character evidence to be considered.

                   7.      Opportunity to Seek Disqualification of Dean Bova
                           (CM/ECF 112-1, pp. 80-81; CM/ECF 115-1, p. 20)

           Plaintiff maintains that Defendant’s last-minute substitution of Dean Bova as a panelist

   without providing Plaintiff an adequate opportunity to object violates the spirit of the Code of

   Student Conduct even if it may be consistent with a hyper-literal reading. Notwithstanding his

   position, Plaintiff agrees, for the purpose of this cross-motion only, that it may require a finding

   of fact to resolve this issue.

           C.      Causation

           In order to prevail on a breach of contract claim, Plaintiff must prove that the breaches in

   question caused damages. See Doe v. Brown University, supra, 310 F.Supp. 3d at 330. In his

   Memorandum in Support of Cross-Motion for Partial Summary Judgment (see CM/ECF 112-1,



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   pp. 81-84), Plaintiff presents legally sufficient evidence that the breaches described above made

   it impossible for him to obtain a fair hearing, and thus inevitably led to an adverse outcome. It is

   undisputed that Defendant’s suspension (which was based on the Student Conduct Board

   finding) caused Plaintiff harm in the form of the interruption of his undergraduate education, and

   materially diminished his chances of pursuing his desired career in medicine. See also CM/ECF

   113-51 (expert report of Suzanne Miller, M.D.). Defendant’s Reply does not present a genuine

   issue of material fact as to these elements of Plaintiff’s case.

          D.       Conclusion

          For these reasons, Plaintiff respectfully submits that he is entitled to partial summary

   judgment on his Rhode Island contract law claims and on his request for declaratory relief with

   regard to those claims.

                                          Respectfully submitted,

                                          Plaintiff John Doe,
                                          By his attorneys,

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                                          Attorneys for Plaintiff John Doe

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                                            -and-
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                                  CERTIFICATE OF SERVICE

        I hereby certify on this 9th day of March, 2018, I served a copy of this Reply
   Memorandum on Defendant’s counsel via the Court’s CM/ECF system.

                            /s/     Tara J. Davis, Esq.




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